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            9                      IN THE UNITED STATES DISTRICT COURT
          10                    FOR THE CENTRAL DISTRICT OF CALIFORNIA,
          11                                    WESTERN DIVISION
          12     CHAMBER OF COMMERCE OF THE                 CASE NO. 2:24-cv-00801-ODW-PVC
                 UNITED STATES OF AMERICA,
          13     CALIFORNIA CHAMBER OF                      ORDER GRANTING JOINT
                 COMMERCE, AMERICAN FARM                    STIPULATION REQUESTING
          14     BUREAU FEDERATION, LOS                     RESCHEDULING OF HEARING
                 ANGELES COUNTY BUSINESS                    ON MOTION FOR
          15     FEDERATION, CENTRAL VALLEY                 PRELIMINARY INJUNCTION
                 BUSINESS FEDERATION, and
          16     WESTERN GROWERS ASSOCIATION,
                            Plaintiffs,                     Judge:       Honorable Otis D. Wright
          17                                                             II, U.S. District Judge
                     v.
          18
                 LIANE M. RANDOLPH, in her official
          19     capacity as Chair of the California Air
                 Resources Board, STEVEN S. CLIFF, in
          20     his official capacity as the Executive
                 Officer of the California Air Resources
          21     Board, and ROBERT A. BONTA, in his
                 official capacity as Attorney General of
          22     California.
          23                      Defendants.
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Crutcher LLP
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            1          Having considered the joint stipulation of Plaintiffs Chamber of Commerce of
            2    the United States of America, California Chamber of Commerce, American Farm
            3    Bureau Federation, Los Angeles County Business Federation, Central Valley
            4    Business Federation, and Western Growers Association, and Defendants Liane M.
            5    Randolph, Steven S. Cliff, and Robert A. Bonta:
            6                        The Court hereby CONTINUES the hearing on Plaintiff’s Motion for
            7     PreliminaryInjunction (Dkt. 78) currently scheduled for June 24, 2025 to July 1, 2025
                  at 10:30 a.m.
            8
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          10           IT IS SO ORDERED.
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          12     Date:June 9, 2025
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          16                                                 Honorable Otis D. Wright II
                                                             United States District Judge
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Crutcher LLP
